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                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF VIRGINIA
                                       Alexandria Division


UNITED STATES OF AMERICA,                      )
                                               )      Criminal No. 1:18-cr-00083-TSE
v.                                             )
                                               )
                                               )
PAUL J. MANAFORT, JR.,                         )
                                               )      Judge T. S. Ellis, III
                Defendant.                     )


               PAUL J. MANAFORT, JR.’S RESPONSE TO SEALED ORDER

         Paul J. Manafort, Jr., by and through counsel, hereby submits this response to the Court’s

sealed order (Doc. 263). On August 22, 2018, the Court issued a sealed order and invited the

parties to respond to the order. Accordingly, after having sufficient time to consider the issues, Mr.

Manafort does not object to the Court’s order or proposed action.


Dated: August 23, 2018                         Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

        I hereby certify that on the 23rd day of August 2018, I will electronically mail the foregoing
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